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                        UNITED STATES DISTRICT COURT
1
                                  FOR THE
2                     WESTERN DISTRICT OF PENNSYLVANIA
3
     KEVIN KETTER,                            )
4                                             )
                 Plaintiff                    )
5                                             )       Case No.:
6
           v.                                 )
                                              )       COMPLAINT AND DEMAND FOR
7    MEDICREDIT, INC.,                        )       JURY TRIAL
                                              )
8
                 Defendant                    )       (Unlawful Debt Collection Practices)
9

10
                                     COMPLAINT
11
           KEVIN KETTER (“Plaintiff”), by and through his attorneys, KIMMEL &
12

13
     SILVERMAN, P.C., alleges the following against MEDICREDIT, INC.

14   (“Defendant”):
15
                                   INTRODUCTION
16
           1.   Plaintiff’s Complaint is based on the Fair Debt Collection Practices
17

18   Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Telephone Consumer Protection

19   Act 47 U.S.C. § 227 et. seq. (“TCPA”).
20
                             JURISDICTION AND VENUE
21
           2.   Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
22

23   which states that such actions may be brought and heard before “any appropriate
24   United States district court without regard to the amount in controversy,” and 28
25



                                                  1

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     U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
1

2    under the laws of the United States.
3
           3.     Defendant conducts business in the Commonwealth of Pennsylvania
4
     and as such, personal jurisdiction is established.
5

6
           4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

7                                           PARTIES
8
           5.     Plaintiff is a natural person residing in Pittsburgh, Pennsylvania 15210.
9
           6.     Plaintiff is a “person” as that term is defined by 47 U.S.C. 153 (39).
10

11         7.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

12   §1692a(3).
13
           8.     Defendant is a debt collection company with headquarters located at 3
14
     City Place Drive, Suite 690, St. Louis, Missouri 63141.
15

16         9.     Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39.
17         10. Defendant is a “debt collector” as that term is defined by 15 U.S.C. §
18
     1692(a)(6), who repeatedly contacted Plaintiff in an attempt to collect a “debt” as
19
     defined by 15 U.S.C. §1692(a)(5).
20

21         11. Defendant acted through its agents, employees, officers, members,
22
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
23
     representatives and insurers.
24

25



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                                FACTUAL ALLEGATIONS
1

2          12. At all pertinent times hereto, Defendant was hired to collect a
3
     consumer debt and attempted to collect that debt from Plaintiff.
4
           13. Defendant collects, and attempts to collect, debts incurred, or alleged to
5

6
     have been incurred, for personal, family, or household purposes on behalf of

7    creditors using the U.S. Mail, telephone and/or internet.
8
           14. The debt at issue, a MedExpress bill, arose out of transactions
9
     primarily for personal, family, or household purposes.
10

11         15. Beginning in January 2015 and continuing through August 2015,

12   Defendant contacted Plaintiff on his cellular telephone.
13
           16. Plaintiff has had this cellular telephone number for more than one year.
14
           17. Plaintiff has only used this number as a cellular telephone number.
15

16         18. The phone number has been assigned to a cellular telephone service for
17   which Plaintiff incurs a charge for incoming calls.
18
           19. Plaintiff never provided permission to Defendant to call his cellular
19
     telephone number.
20

21         20. Further, in January 2015, Plaintiff instructed Defendant to stop calling
22
     him on his cellular telephone.
23
           21. However, Defendant failed to update its records to cease calls to
24

25
     Plaintiff’s cellular telephone.


                                                 3

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           22. Defendant called Plaintiff, on average, once a day.
1

2          23. Defendant used an automatic telephone dialing system, automated
3
     message and/or prerecorded voice when contacting Plaintiff.
4
           24. At times, Plaintiff would be met with an automated voice asking him to
5

6
     press “1” in order to speak with someone, placed on hold for a few seconds and

7    then a live representative would pick up.
8
           25. Defendant’s telephone calls were not made for “emergency purposes.”
9
           26. In its communications with Plaintiff, Defendant threatened to take legal
10

11   action against Plaintiff if he did not pay the debt.

12         27.    Upon information and belief, Defendant did not intend to take the
13
     action it threatened; rather, it made such statements to scare Plaintiff into making
14
     payment on the alleged debt.
15

16         28. Defendant’s actions as described herein were made with the intent to
17   harass, upset, deceive, and coerce payment from Plaintiff.
18
                             DEFENDANT VIOLATED THE
19                     FAIR DEBT COLLECTION PRACTICES ACT
20
                                           COUNT I
21
           29. Defendant’s conduct violated 15 U.S.C. §§ 1692d and 1692d(5).
22

23                a.     A debt collector violates § 1692d of the FDCPA by engaging

24                       in conduct of the natural consequence of which is to harass,
25
                         oppress, or abuse any person in connection with the collection

                                                 4

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                      of a debt.
1

2               b.    A debt collector violates § 1692d(5) of the FDCPA by causing
3
                      a telephone to ring or engaging any person in telephone
4
                      conversation repeatedly or continuously with intent to annoy,
5

6
                      abuse, or harass any person at the called number.

7               c.    Here, Defendant violated §§ 1692d and 1692d(5) of the
8
                      FDCPA by repeatedly contacting Plaintiff on his cellular
9
                      telephone.
10

11                                        COUNT II

12        30.   Defendant’s conduct, as detailed in the preceding paragraph, violated
13
     15 U.S.C. §§ 1692e, 1692e(5), and 1692e(10) of the FDCPA.
14
                a.    A debt collector violates § 1692e of the FDCPA by using any
15

16                    false, deceptive or misleading representations or means in
17                    connection with the collection of any debt.
18
                b.    A debt collector violates § 1692e(5) of the FDCPA by
19
                      threatening to take any action that cannot legally be taken or
20

21                    that is not intended to be taken.
22
                c.    A debt collector violates § 1692e(10) by using any false
23
                      representation or deceptive means to collect or attempt to
24

25
                      collect any debt.


                                             5

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                 d.    Here, Defendant violated §§ 1692e, 1692e(5), and 1692e(10) of
1

2                      the FDCPA by threatening to take legal action against Plaintiff
3
                       if he did not pay the alleged debt, when it did not intend to take
4
                       the action it threatened.
5

6
                                        COUNT III

7          31.   Defendant’s conduct, as detailed in the preceding paragraphs, violated
8
     15 U.S.C. § 1692f of the FDCPA.
9
                 a.    A debt collector violates § 1692f of the FDCPA by using unfair
10

11                     or unconscionable means to collect or attempt to collect any

12                     debt.
13
                 b.    Here, Defendant violated § 1692f of the FDCPA engaging in
14
                       other unfair and unconscionable debt collection practices,
15

16                     including failing to update its records to cease collection calls
17                     to Plaintiff’s cellular telephone after he told them to stop
18
                       calling.
19

20
                                        COUNT IV

21         32. Defendant’s conduct, as detailed in the preceding paragraphs, violated
22
     15 U.S.C. § 1692g(a).
23
                 a.    A debt collector violates § 1692g(a) of the FDCPA by failing,
24

25
                       within five days after the initial communication with a


                                              6

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                 consumer in connection with the collection of a debt, to send
1

2                the consumer a written notice containing (1) the amount of the
3
                 debt; (2) the name of the creditor to whom the debt is owed; (3)
4
                 a statement that unless the consumer, within thirty days after
5

6
                 receipt of the notice, disputes the validity of the debt, or any

7                portion thereof, the debt will be assumed to be valid by the debt
8
                 collector; (4) a statement that if the consumer notifies the debt
9
                 collector in writing within the thirty-day period that the debt, or
10

11               any portion thereof, is disputed, the debt collector will obtain

12               verification of the debt or a copy of a judgment against the
13
                 consumer and a copy of such verification or judgment will be
14
                 mailed to the consumer by the debt collector; and (5) a
15

16               statement that, upon the consumer's written request within the
17               thirty-day period, the debt collector will provide the consumer
18
                 with the name and address of the original creditor, if different
19
                 from the current creditor.
20

21         b.    Here, Defendant violated § 1692g(a) of the FDCPA by failing
22
                 to send Plaintiff written notification of his rights to dispute the
23
                 debt, request verification of the debt and/or to request
24

25
                 information about the creditor within five (5) days of its initial


                                        7

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                           communication with him.
1

2                         DEFENDANT VIOLATED THE
                     TELEPONE CONSUMER PROTECTION ACT
3

4                                         COUNT V

5          33. Defendant’s conduct, as detailed in the preceding paragraphs, violated
6
     the Telephone Consumer Protection Act.
7
           34. Under § 227(b)(3)(A) of the TCPA, a person or entity may bring a
8

9    private cause of action in an appropriate court based on a violation of the TCPA or
10
     the regulations prescribed under the TCPA to enjoin such violation.
11
           35. Under § 227(b)(3)(B) of the TCPA, a person or entity may bring a
12

13
     private cause of action in an appropriate court “to recover for actual monetary loss

14   from such a violation, or to receive $500 in damages for each such violation
15
     whichever is greater.”
16
           36. Despite the fact that Plaintiff never consented to Defendant placing
17

18   calls to him, Defendant repeatedly placed non-emergency calls to Plaintiff’s

19   cellular telephone.
20
           37. Based upon the conduct of Defendant, Plaintiff avers that the
21
     enhancement of damages provided for by the TCPA allowing for Plaintiff to
22

23   recover up to $1,500 per call/violation be applied to calls placed.

24

25



                                               8

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           38. Defendant’s conduct violated § 227(b)(1)(A)(iii) of the TCPA by
1

2    placing repeated calls using an automatic telephone dialing system to Plaintiff’s
3
     cellular telephone without prior express consent.
4

5

6
           WHEREFORE, Plaintiff, KEVIN KETTER, respectfully prays for a

7    judgment as follows:
8
                 a.     All   actual    damages   suffered   pursuant    to   15   U.S.C.
9
                        §1692k(a)(1);
10

11               b.     Statutory damages of $1,000.00 for the violation of the FDCPA

12                      pursuant to 15 U.S.C. §1692k(a)(2)(A);
13
                 c.     All reasonable attorneys’ fees, witness fees, court costs and
14
                        other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.
15

16                      §1693k(a)(3);
17               d.     Statutory damages of $500.00 per telephone call in violation of
18
                        the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);
19
                 e.     Statutory damages of up to $1,500 for each call in violation of
20

21                      the TCPA, pursuant to 47 U.S.C. §§ 227(c)(5)(B) and
22
                        227(c)(5)(C), which permits the Court in its discretion to award
23
                        such damages if it finds that Defendant willfully or knowingly
24

25
                        violated the TCPA; and


                                              9

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                   f.      Any other relief deemed appropriate by this Honorable Court.
1

2

3
                                DEMAND FOR JURY TRIAL
4
            PLEASE TAKE NOTICE that Plaintiff, KEVIN KETTER, demands a jury
5

6
     trial in this case.

7                                            RESPECTFULLY SUBMITTED,
8

9

10
     Date: 12-16-15                          By: /s/ Craig Thor Kimmel______
11                                              CRAIG THOR KIMMEL
                                                Attorney ID No. 57100
12
                                                Kimmel & Silverman, P.C.
13                                              30 E. Butler Pike
                                                Ambler, PA 19002
14                                              Phone: (215) 540-8888
15
                                                Fax: (877) 788-2864
                                                Email: kimmel@creditlaw.com
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